UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
Maria Suarez,                                         )
                                                      )
                                        Plaintiff(s), )
                                                      )        Case No.
                     -against-                        )        19-cv-07271(GRB)(LGD)
                                                      )
Southern Glazer's Wine and Spirits of New York,       )
LLC,                                                  )
                                                      )
                                       Defendant(s). )


                           DECLARATION OF STEVEN J. MOSER

         I, Steven J. Moser, pursuant to 28 U.S.C. § 1746, declare as follows:

   1.           I represent the Plaintiff Maria Suarez.

   2.           I make this declaration in opposition to Defendant’s Local Rule 56.1 Statement of

Facts.

   3.           Annexed hereto are true and correct electronic copies of the following documents:

Description                                                                        Exhibit No.
November 6, 2012 email and Southern Wine & Spirits Position Request                    1
(SGWS001488-001489).
Maria Suarez’s May 2, 2013 email concerning the classification of her employees        2
based upon sex.
Complaint filed in Herdocia v. Southern Wine & Spirits of America, Inc., 14-cv-        3
03196(JMA)(ARL)
Complaint filed in Sajous v. Southern Wine & Spirits of New York, Inc., 15- cv-        4
03270(JS)(ARL)
Maria Suarez Resume (SGWS001404)                                                        5
Tonisha Durant Resume (SGWS0001734-0001735)                                             6
Plaintiff’s Personnel Action Notice (SGWS001485),                                       7
Deposition Transcript of John Wilkinson dated October 25, 2016                          8
Task list (SGWS001181)                                                                  9
Emails regarding inventory discrepancy and proposed letter of termination dated        10
December 5, 2016 (SGWS002070-002074)


   4.           Southern has not produced any annual performance appraisals for the Plaintiff

covering the calendar years 2014 and 2015.


                                                   1
   5.          Southern has not produced any documents showing how the decision to reclassify

Maria from a Manager to an Administrator was made in early 2016, and Southern claims it is not

withholding any such documents.

   6.          Southern has not produced any documents showing how Maria Suarez was

selected for termination in early 2018, and Southern claims it is not withholding any such

documents.

   7.          Although Southern claims that Maria was terminated as part of a “reduction in

force” program in early 2018, it has not produced any documents concerning the reduction in

force. The most it has produced is a list of 26 people who were fired. Southern claims it is not

withholding any documents.

   8.          I analyzed the salary data provided by Southern in its Statement of Undisputed

Facts No. 23, using Excel, and made the following computations:

              a.      From 2011 until 2014 (the year in which the Herdocia lawsuit was filed),

        Plaintiff’s average annual salary increase was 3.83%.

              b.      From 2015 until 2018 (after the Herdocia lawsuit was filed) the Plaintiff’s

        average annual salary increase was 2.25%.

              c.      If Plaintiff had received the same salary increases after the women in her

        department filed their sex discrimination lawsuits as she had been receiving previously,

        Maria’s salary in 2016 would have been $73,979.29.

              d.      If Plaintiff had received the same salary increases after the women in her

        department filed their sex discrimination lawsuits as she had been receiving previously,

        her salary in 2017 would have been $76,812.70.




                                                2
            e.       If Plaintiff had received the same salary increases after the women in her

      department filed their sex discrimination lawsuits as she had been receiving previously,

      her salary in 2018 would have been $79,754.62.

      I declare under the penalty of perjury that the foregoing is true and correct.

Dated: Huntington, New York
       March 9, 2023

                                             Steven John Moser
                                             Steven John Moser




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